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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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12   Terrie Pritchett,                        Case No.: CV 20-10890-GW-PVCx
13                Plaintiff,                  Hon. George H. Wu
14       v.
15                                            ORDER FOR DISMISSAL WITH
     Beaty, LLC, a California limited         PREJUDICE
     liability company; and Does 1- 10,
16
                  Defendants.                 Action Filed: December 1, 2020
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                                              Trial Date: Not on Calendar
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                         [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-10890-GW-PVC Document 24 Filed 05/13/21 Page 2 of 2 Page ID #:98



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Terrie Pritchett’s action against Defendant Beaty LLC is dismissed with
 5   prejudice. Each party will be responsible for its own fees and costs.
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     Dated: May 13, 2021
 8                                                       Hon. George H. Wu
                                                         United States District Judge
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                       [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
